
                               March 17, 2006

Mr. Marshall M. Searcy Jr.
201 Main Street, Suite 2500
Fort Worth, TX 76102

Mr. Wade Caven Crosnoe
Thompson Coe Cousins &amp; Irons, L.L.P.
701 Brazos, Suite 1500
Austin, TX 78701

Mr. William L. Kirkman
Bourland &amp; Kirkman
201 Main Street, Suite 1400
Fort Worth, TX 76102-3118

Mr. John L. Malesovas
P.O. Box 1709
Waco, TX 76703-1709
Mr. R. H. Wallace Jr.
777 Main Street, Suite 3800
Fort Worth, TX 76102

Mr. Walker C. Friedman
Friedman,  Suder &amp; Cooke
604 East 4th Street, Suite 200
Fort Worth, TX 76102

Mr. Brandon T. Hurley
Kelly Hart &amp; Hallman, P.C.
201 Main Street, Suite 2500
Fort Worth, TX 76102

RE:   Case Number:  04-0157
      Court of Appeals Number:  02-03-00307-CV
      Trial Court Number:  067-186659-01
Style:      IN RE  JIMMY K. WALKER

Dear Counsel:

      Pursuant to Texas Rule of Appellate Procedure 52.8(c), without hearing
oral argument, the Court conditionally granted  the  petition  for  writ  of
mandamus and issued the enclosed per curiam opinion in the  above-referenced
cause.  The Motion for Temporary Relief is dismissed as moot.
                                       Sincerely,
                                       [pic]
                                       Andrew Weber, Clerk
                                       by Claudia Jenks, Chief Deputy Clerk
Enclosure
|cc:|Ms. Stephanie Lavake    |
|   |Mr. Thomas A. Wilder    |
|   |The Honorable James A.  |
|   |Baker                   |

